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PHILLIP D. JACKSON | = =
28598 Kristin Lane ae =
Highland, California 92346 Blo ©
Tel: (951)505-3221 os
Fax: (909)899-3881 mms oe
Email: phillipdjackson@sbcglobal.net pe 6

PLAINTIFF IN PRO SE

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PHILLIP D. JACKSON

Plaintiff,
Vv.

NATIONSTAR MORTGAGE LLC;
FEDERAL HOME LOAN MORTGAGE
CORPORATION (“FREDDIE MAC”);
AND DOES 1-10, INCLUSIVE

Defendants.

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Case No.: 5:17-cv-0044-CAS-(KKx)

SECOND AMENDED COMPLAINT
FOR:

1. DECLARATORY RELIEF

[28 U.S.C. §§ 2201, 2202]

VIOLATION OF THE FAIR

DEBT COLLECTION PRACTICES

ACT (“FDCPA”), 15 U.S.C. § 1692,

ET SEQ.

3. CANCELLATION OF
INSTRUMENTS

4. VIOLATION OF BUSINESS &
PROFESSIONS CODE, SECTION
17200, et seq.

5. QUASI CONTRACT

6. NEGLIGENCE

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DEMAND FOR JURY TRIAL

Pursuant to the Order of the Court made on May 15, 2017, Plaintiff, PHILLIP

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D. JACKSON (“Plaintiff or “JACKSON”), a “consumer” as defined by the Fair Debt
Collection Practices Act, hereinafter referred to as FDCPA, /5 U.S.C. § 1692a(3), files
this Second Amended Complaint, hereinafter referred to as SAC, against Defendants
NATIONSTAR MORTGAGE LLC, hereinafter referred to as NATIONSTAR, (in its
capacity as purported mortgage servicer of Plaintiff's debt obligation and “debt
collector”, 15 U.S.C. § 1692(a)(6); and FEDERAL HOME LOAN MORTGAGE
CORPORATION, hereinafter referred to as FREDDIE MAC, (in its capacity as the
alleged owner and assignee of Plaintiff's debt obligation and “debt collector as defined
by the FDCPA, /5 U.S.C. § 1692a(6), complaints, pleads and alleges as follows:
I. JURISDICTION AND VENUE

This Court has original jurisdiction over the claims in this action based on 28
U.S.C. $$ 1331, 1332, 1343, 15 U.S.C. § 1692, et seq. and 42 U.S.C. § 1983 which confer
original jurisdiction on federal district courts in suits to address the deprivation of rights
secured by federal law.!

This Court has original jurisdiction over the claims in the action based on 28
U.S.C. § 1332 which confers original jurisdiction on federal district courts in suits
between diverse citizens that involve an amount in controversy in excess of $75,000.00.

This Court also has supplemental jurisdiction over the pendant state law claims

 

' The Ninth Circuit instructs that in actions brought under 28 U.S.C. § 2201, district courts must first determine
whether there is actual controversy within its jurisdiction by analyzing the factors enumerated in Brillhart v. Excess
Ins. Co., 316 U.S. 491 (1942). The Brillhart factors require the Court to 1) avoid needless determination of state
law issues; 2) discourage litigants from filing declaratory actions as a means of forum shopping; and 3) avoid
duplicative litigation. Brillhart, 316 U.S. at 495; see also Schafer v. Citimortgage No. CV 11-0319, 2011 WL
2437267 (C.D. Cal. June 15, 2011). As held by the court in Schafer, this action does not involve a needless
determination of state law issues, does not involve forum shopping, and is not duplicative litigation.

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because they form a party of the same case or controversy under Article III of the United
States Constitution, pursuant to 28 U.S.C. § 1367.

The unlawful conduct, illegal practices, and acts complained of and alleged in this
Complaint were all committed in the Central District of California and involved real
property located in the Central District of California. Therefore, venue properly lies in
this District, pursuant to 28 U.S.C. § 1391(b).

Il. SUBJECT REAL PROPERTY AT ISSUE

The Real Property (herein after referred to as “Property”), the subject of any and all
claims of any of the Parties hereto, and which is the subject of instant action, and that of
which Plaintiff prays for a Decree and/or Order of Declaratory Relief thereto. The
“Subject Property” address and legal description is as follows: 28598 Kristin Lane,
Highland, CA 92346. More particularly, the legal description of this property is:

LOT 6, TRACT NO. 15618-2, IN THE CITY OF HIGHLANDS, COUNTY OF
SAN BERNARDINO, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
BOOK 265, PAGES 55 THROUGH 57, INCLUSIVE OF MAPS, IN THE OFFICE OF
THE COUNTY RECORDER OF SAID COUNTY.

Assessor’s Parcel No. 1201-441-22-0-000.

Tl. IDENTITY OF PARTIES

Plaintiff is informed and believes, and thereon alleges, that at all times relevant

hereto Defendant, NATIONSTAR, is a national mortgage servicing institution licensed to

do business in the State of California, in and of the County and City where subject

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“PROPERTY” is so situated and physically located which is within this Courts Judicial
District.

Plaintiff is informed and believes, and thereon alleges, that at all times relevant
hereto Defendant, FREDDIE MAC, is a federally chartered entity doing business in the
State of California, in and of the County and City where subject “PROPERTY” is so
situated and physically located which is within this Courts Judicial District.

Plaintiff is unaware of the true names and capacities of any individuals and/or
entities sued herein under the fictitious names DOES | to 10, inclusive or, to the extent
that the names of such individuals or entities may become known to Plaintiff, and as such
Plaintiff cannot state with any certainty that such a Cause of Action lies herein as against
such individuals or entities, or Plaintiff is unable to alleged the elements of such Cause of
Action, at this time, and as such said Defendants are herein named in accordance with the
provisions of (Cal Code of Civil Procedure Sec. 474). Plaintiff thereon reserves the right
to amend instant Complaint to allege the true names and capacities of such fictitiously
named Defendants when the same become known or when it has been ascertained with
reasonable certainty that such Cause of Action hereunder can be satisfactorily stated and
maintained as against each such fictitiously named individual or entity.

Plaintiff is informed and believes and thereon alleges, that in committing certain
acts alleged, some or all of the Defendants named were acting as the Agents, Joint
Ventures, Partners, Representatives, Subsidiaries, Affiliates, Associates, Successors,

Assigns and/or Employees and/or Agents or some or all of the other Defendants, and that

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some or all of the conduct of such Defendants, as complained of herein, was within the
course and scope and agency of such relationship.

Wherever reference is made in this SAC to any act of any Defendants, that
allegation shall mean that each Defendants acted individually and jointly with the other
Defendants.

Any allegation about acts of any corporate or other business Defendants means that
the corporation or other business did the acts alleged through its officers, directors,
employees, agents and/or representatives while they were acting within the actual or
ostensible scope of their authority.

At all relevant times, each Defendants committed the acts, caused or directed to
others to commit the acts, or permitted others to commit the acts alleged in this SAC.
Additionally, some or all of the Defendants acted as the agent of the other Defendants,
and all of the Defendants acted within the scope of their agency if acting as an agent of
the other.

At all relevant times, Defendants knew or realized that the other Defendants
(successors and/or assigns) were engaging in or planned to engage in the violations of
law alleged in this SAC. Knowing or realizing that the other Defendants were engaging
in or planning to engage in unlawful conduct, each Defendants nevertheless facilitated
the commission of those unlawful acts, and thereby aided and abetted the other
Defendants in the unlawful conduct.

At all times mentioned in this SAC, Plaintiff, PHILLIP D. JACKSON is an

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individual consumer residing in the County of San Bernardino and is the owner of the
certain Subject Property.

This is a federal judicial issue and the Consumer is authorized by the Constitution
for the United States of America, codified in the FDCPA, to enforce the laws of the
United States and to protect and defend those inalienable secured rights within the
Constitution for the United States of America. This is an action to enforce the liability of
the Debt Collectors/Defendants for violations of this Consumer’s protections under the
FDCPA, the Constitution for the United States of America, and other consumer
protection laws which were enacted by Congress to protect Consumers from illegal,
harassing, deceptive and abusive debt collection activities.

The rules of law governing this Complaint is the FDCPA, /5 U.S.C. § 1692, the
Consumer Financial Protection Bureau (CFPB), the Federal Trade Commission (FTC)
and Article HI, Section 2 of the United States Constitution. The language to be used in
this matter is the Plaint Writing Act of 2010 — which has been enacted by Congress
through Executive Order 13563. It requires federal agencies to use clear communications
that the public can easily understand and written in plain language.

Any motions or pleadings, that contain legalese and are not written in plain English
for the Consumer to understand, will be intentionally confusing, abusive, profane,
obscene and harassing to the Consumer, would be a violation of 1/5 U.S.C. § 1692d(2),
and will be assessed at an additional $5,000.00 per occurrence and added to this

Consumer’s verified claim.

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Any response, communications or counterclaim to this Consumer’s Complaint
verified claim, from any Debt Collector/Defendant in the form of pleadings or otherwise,
should be verified, under oath and penalty of perjury, as required by law. There will be
no exceptions. Any false statements made in any communications by the Defendants in
this enforcement action, would be considered perjury. Each occurrence of perjury will be
assessed at $25,000.00 and will be added to the Consumers’ damages.

Any debt collector or attorney attempting to come into this consumer matter,
MUST have prior consent from the Consumer or a court of competent jurisdiction to
enter their appearance and MUST have the proper license; and MUST be properly
bonded and insured in an amount to cover all of the Consumers’ damages in this action.

IV. DATE OF DETERMINATION

 

Plaintiff herein request that the date of the Judicial determination sought be that of
the date of the filing of this Complaint which was January 11, 2017.
Vv. DEMAND FOR JURY TRIAL
Plaintiff PHILLIP D. JACKSON hereby demands a trial by jury on all claims.

VI. STATEMENT OF THE CASE

 

This action arrives out of the illegal conduct and behavior of the “debt collectors”,
Defendants NATIONSTAR and FREDDIE MAC, engaging in illegal collection activities
as defined in /5 U.S.C. § 1692, et seq.

The Defendants attempts to collect payment and eventually proceed with a

nonjudicial foreclosure action to dispossess and disable the Plaintiff from his personal,

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private property that was obtained for personal, family and household use — not for
commercial business or trade. The Defendants have no lawful or legal right to do so.
The Plaintiff, a “consumer” disputed the unverified alleged debt with the
Defendants and has requested verification and validation of the alleged debt. To date,
Defendants have refused to provide the Plaintiff verification and validation that they had
a lawful right to contact him, attempt to collect on the alleged debt, and to proceed with a
nonjudicial foreclose on his Property.
VIL THE FAIR DEBT COLLECTION PRACTICES ACT (“FDCPA”)
Congress has determined that there is abundant evidence of the use of abusive,
deceptive, and unfair debt collection practices by many debt collectors. Abusive debt
collection practices contribute to the number of personal bankruptcies, to marital
instability, to the loss of jobs, and to invasions of individual privacy.
The purpose of the FDCPA is to eliminate abusive debt collection practices by
“debt collectors”, to insure that those “debt collectors” who refrain from using abusive
debt collection practices are not competitively disadvantaged, and to promote consistent
State action to protect consumers against debt collection abuses.
15 US.C. § 1692a states the following:

(3) The term “consumer” means any natural person obligated or allegedly
obligated to pay any debt.

(4) The term “creditor” means any person who offers or extends credit
creating a debt or to whom a debt is owed, but such term does not
include any person to the extent that he receives an assignment or
transfer of a debt in default solely for the purpose of facilitating
collection of such debt for another.

 

 

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(5) The term “debt” means any obligation or alleged obligation of a
consumer to pay money arising out of a transaction in which the
money, property, insurance, or services which are the subject of
the transaction are primarily for personal, family, or household
purposes, whether or not such obligation has been reduced to
judgment.

(6) The term “debt collector” means any person who uses any instrumentality
of interstate commerce or the mails in any business the principal purpose
of which is the collection of any debts, or who regularly collects or
attempts to collect, directly or indirectly, debts owed or due or asserted
to be owed or due another. Notwithstanding the exclusion provided by
clause (F) of the last sentence of this paragraph, the term includes
any creditor who, in the process of collecting his own debts, uses any
name other than his own which would indicate that a third person is
collecting or attempting to collect such debts.

 

Further pursuant to 75 U.S.C. $1692/(6)(A) a “debt collector” may not use unfair
or unconscionable means to collect or to attempt to collect any debt. Without limiting the
general application of the foregoing, the following conduct is a violation of this section:

(6) Taking or threatening to take any nonjudicial action to effect dispossession
or disablement of property if —

(A) there is no present right to possession of the property claimed as
collateral through an enforceable security interest...”

VI. FACTUAL ALLEGATIONS
On June 14, 2006, Plaintiff, executed a Deed of Trust in favor of Mountain West
Financial Inc., hereinafter referred to as Mountain West, in the amount of $391,999.00.
Mountain West is a “creditor” as defined by the FDCPA, /5 U.S.C. § 1692(4). The
transaction as defined by the FDCPA, /5 U.S.C. § 1692/5) is a “debt” and hereinafter
referred to as a debt or debt obligation.

On June 21, 2006, Mountain West caused to be recorded with the San Bernardino

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County Recorder’s Office the Deed of Trust, hereinafter referred to as DOT, and
Promissory Note, hereinafter referred to as Note. The DOT was recorded as Instrument
Number 2006-0421023. Attached as Exhibit “A” and incorporated herein by reference
is a true and correct copy of the DOT.

On information and belief, Plaintiff alleges that shortly after the origination of his
debt, Mountain West allegedly sold his alleged debt to another entity or entities. The
entity or entities are currently unknown but will be identified through discovery.

Plaintiff experienced an extreme financial hardship in 2011 and fell behind in his
payments. The alleged debt subsequently fell into default. Over the past seven years,
Plaintiff has made attempts to modify and seek the truth in who actually owns his alleged
debt. Plaintiff's attempts have been unsuccessful and the identity of the true beneficiary
to his alleged debt remains unknown to him at this time. Plaintiff contends that
Defendants have repeatedly given him false information and has forced him to believe
that they are the actual beneficiaries of his alleged debt.

After researching the chain of title to his Property in the San Bernardino County
Recorder’s Office, Plaintiff became aware of transactions that were never disclosed to
him. Plaintiff soon learned that none of the Defendants named in this lawsuit have or had
any legal or corporate authority to collect on his debt, service the debt, modify his alleged
loan, or proceed with a lawful foreclosure.

Defendant NATIONSTAR since acquiring the servicing of Plaintiff's debt in on or

about June 15, 2012, while Plaintiff's alleged debt was contractually due for the March 1,

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2012 payment, has been harassing Plaintiff by attempting to collect a debt that they do
not have a lawful right to do. On or about February 12, 2013, Defendant NATIONSTAR
sent Plaintiff a letter informing him that they were debt collectors attempting to collect a
debt and that the servicing to his alleged debt transferred to them on or about June 15,
2012. Plaintiff's alleged debt was already in default at that time. Attached as Exhibit
“B” and incorporated herein by reference is a copy of the letter.

On May 21, 2012, an Assignment of Deed of Trust was executed and subsequently
recorded that assigned or transferred all beneficial interest under the Deed of Trust to
Defendant FREDDIE MAC. This assignment was executed while the Plaintiff's alleged
debt was in default. Attached as Exhibit “C” and incorporated herein by reference is a
true and correct copy of the Assignment of Deed of Trust.

On May 14, 2014, an Assignment of Deed of Trust was executed and subsequently
recorded that assigned or transferred all beneficial interest under the Deed of Trust to
Defendant FREDDIE MAC, again. This assignment was executed while the Plaintiffs
alleged debt was in default. Attached as Exhibit “D” and incorporated herein by
reference is a true and correct copy of the Assignment of Deed of Trust.

On June 24, 2014, a Substitution of Trustee, hereinafter referred to as SOT, was
executed and subsequently recorded against Plaintiff's Property attempting to substitute
the original trustee, First American Title Insurance Company, to Pite Duncan, LLP.
Attached as Exhibit “E” and incorporated herein by reference is a true and correct copy

of the SOT. This SOT is invalid pursuant to California Civil Code §2934(a)(1)(A).

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Pursuant to Civil Code §2934(a)(1)(A) only the beneficiary of the NOTE can substitute a
foreclosing trustee under a Deed of Trust. There is no valid record document that
evidences the SOT was executed by Plaintiff's beneficiary or “creditor”. Defendant
NATIONSTAR was not Plaintiff's creditor when they executed this document. Because
Defendant NATIONSTAR was not Plaintiffs “creditor” but a “debt collector” as defined
by the FDCPA, the SOT is invalid. The document is void and any foreclosure sale would
be void.

On July 17, 2014 Defendants’ agent, Pite Duncan, LLP, executed and subsequently
recorded a Notice of Default, hereinafter referred to as NOD, on Plaintiff’s Property.
Attached as Exhibit “F” and incorporated herein by reference is a true and correct copy
of the NOD.

The NOD makes false statements that the present Beneficiary under such Deed of
Trust has executed a written Declaration and Demand for Sale and has deposited with
said duly appointed Trustee, the DOT and all documents evidencing obligations secured
thereby, falsely represents to Plaintiff that Defendant NATIONSTAR is entitled to
initiate and proceed with a nonjudicial foreclosure. Defendant NATIONSTAR is a “debt
collector”. Only “creditors” can enforce a foreclosure.

On October 15, 2015, Defendant NATIONSTAR, sent Plaintiff a letter indicating
that they are a debt collector attempting to collect a debt. The letter also informs Plaintiff
that Defendant he obligated to pay the alleged debt and that any failure to do so will
result in a foreclosure of his Property. The letter also confirms that Plaintiff's alleged
debt was contractually due for the July 1, 2012 payment as a result of Plaintiff making

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payments on his 2010 Modification Agreement. Attached as Exhibit “G” and

On October 21, 2015, Plaintiff, in an attempt to save his home, executed a
Modification of Deed of Trust, not knowing or realizing that Defendant NATIONSTAR
had no right or authorization to negotiate a Modification Agreement with him. The
Modification Agreement clearly states that Defendant NATIONSTAR is Plaintiffs
Lender and that the Lender is the beneficiary under the Deed of Trust and not Defendant
FREDDIE MAC. Plaintiff contends that Defendants fraudulently misrepresented the
character, amount, and legal status of his alleged debt obligation. Attached as Exhibit
“WW” and incorporated herein by reference is a true and correct copy of the Modification
Agreement.

On June 20, 2016, Defendant NATIONSTAR, sent Plaintiff a letter informing him
that Defendant FREDDIE MAC is the current owner of his alleged debt. In the letter,
NATIONSTAR, once again, acknowledges that they are a debt collector. This letter
further demonstrates that Defendants are still attempting to collect a debt without any
authorization or right. Defendants continues to misrepresent the character, amount, and
legal status of Plaintiffs alleged debt obligation. Attached as Exhibit “I” and
incorporated herein by reference is a true and correct copy of the June 20, 2016 letter.

Every month Defendant NATIONSTAR harasses Plaintiff by attempting
to collect on a debt without proper validation. Defendant NATIONSTAR has repeatedly

sent statements and other correspondence letters to Plaintiff in violation of the FDCPA.

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incorporated herein by reference is a true and correct copy of the October 15, 2015 letter.

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The statements contained in letters sent to Plaintiff by Defendant is a violation of /5
U.S.C. § 1692e(2). Pursuant to 1/5 U.S.C. § 1692e(2), Defendants NATIONSTAR and
FREDDIE MAC, are “debt collectors” and are attempting to collect an alleged debt under
false, deceptive and misleading means by stating an inaccurate, character, amount and
status of debt. Defendants have informed Plaintiff that if he does not pay, it would result
in a nonjudicial foreclosure.

Defendants intentions to proceed with a nonjudicial foreclosure is a violation of the
FDCPA, 15 U.S.C. $ 1692/(6)(A) which states that a “debt collector: may not use or
unconscionable means to collect or attempt to collect any debt. Without limiting the
general application of the foregoing, the following conduct is a violation of this section:

(6) Taking or threatening to take any nonjudicial action to effect dispossession
or disablement of property if —

(A) there is no present right to possession of the property claimed as
collateral through an enforceable security interest...”

Here, Plaintiff alleges that Defendants are both “debt collectors” and have no legal
right or authority to collect or attempt to collect any payments or have a right to foreclose
on Plaintiff's Property.

15 U.S.C. § 1692j(a) states the following:

It is unlawful to design, compile, and furnish any form knowing that
such form would be used to create the false belief in a consumer that
a person other than the creditor of such consumer is participating in the
collection of or in an attempt to collect a debt such consumer allegedly

owes such creditor, when in fact such person is not so participating.

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IX. PLAINTIFF HAS A PRIVATE RIGHT TO ACTION

As a “consumer” with protections under the FDCPA and the Consumer Financial
Protections Bureau, hereinafter referred to as CFPB, Congress has afforded the Plaintiff a
“private right of action” for damages caused by the illegal, deceptive and abusive
collection activities of a “debt collector”. A “consumer” has the private right to exercise
every provision in the consumer protection laws or any other constitutional protections
that have been afforded to him as a “consumer”.

The CFPB affirms that Congress intended the FDCPA to be primarily self-
enforcing, and the “consumer” does not have to ask permission to enforce it. The
CFPB’s Supplemental Amicus Brief for Bock v. Pressler, LLP, No. 15-1056 stated the
following:

“The Bureau has a substantial interest in plaintiffs’ standing under Article
If to bring in federal court to assert their rights under the Fair Debt
Collection Practices Act (FDCPA or Act). Although the Bureau and
various other federal Agencies have authority to enforce the Act, 7/5 U.S.C.
§ 16921, Congress intended the Act to be “primarily self-enforcing,” in
that “consumers who have been subjected to collection abuses will be
enforcing compliance,” S. Rep. No. 95-382, at 5 (1977). An unduly
narrow understanding of Article III standing would limit consumers’
ability to exercise the Act’s private right of action and thereby weaken
an important supplement to the Bureau’s own enforcement efforts.
Emphasis added.

Plaintiff is requesting this Court is to assist him in this Enforcement Action.
Plaintiff is a natural person and requests that this Court bear witness to his private right to

action.

If the Defendants, as “debt collectors” feel they have a lawful, bona fide, or

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verified claim to Plaintiff's personal, private Property, then they MUST file a verified
counterclaim pursuant to /5 U.S.C. $ 1692i.

FIRST CAUSE OF ACTION - DECLARATORY RELIEF
[Against All Defendants and Doe Defendants]

1. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.
2. Section 2201 (a) of Title 28 of the United States Code states:

In case of actual controversy within its jurisdiction, except with
to Federal taxes other than actions of brought under section
7428 of the Internal Revenue Code of 1986, a proceeding
under section 505 or 1146 of title 11, or in any civil action
involving an anti-dumping or countervailing duty proceeding
regarding a class or kind of merchandise of a free trade area
country (as defined in section 516A(f)(10) of the Tariff Act of
1930), as determined by the administering authority, any court
of the United States, upon the filing of an appropriate pleading,
may declare the rights and other legal relations of any
interested party seeking such declaration, whether or not
further relief is or could be sought. Any such declaration

shall have the force and effect of a final judgment or decree
and shall be reviewable as such.

Section 2202 of Title 28 of the United States Code states:
Further necessary or property relief based on declaratory
judgment or decree may be granted, after reasonable notice
and hearing, against any adverse party whose rights have
been determined by such judgment.
3. Plaintiff alleges that Defendant NATIONSTAR and/or FREDDIE MAC does
not have a secured or unsecured legal, equitable, or pecuniary interest in the lien

evidenced by the Deed of Trust, the Modification of the Deed of Trust and Note which

are wholly unsecured.

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4. Thus, the competing allegations made by Plaintiff, above, establish that a real
and present controversy exists as to the respective rights of the parties to this matter,
including ownership of the Property.

5. Accordingly, Plaintiff requests that the Court make a finding and issue
appropriate orders stating that Defendant NATIONSTAR and/or FREDDIE MAC, as
“debt collectors” as defined by the FDCPA, does not have any rights or interest in
Plaintiff's Note and Deed of Trust, or the Property which authorized them, in fact or as a
matter of law to enforce the terms of the Note and Deed of Trust in any matter
whatsoever.

6. Due to actual case and controversy regarding competing claims and allegations,
it is necessary that the Court declare the actual rights and obligations of the parties and
make a determination that Defendant NATIONSTAR and/or FREDDIE MAC claims
against Plaintiff's Property are unenforceable, null and void.

SECOND CAUSE OF ACTION — VIOLATION OF 15 U.S.C. § 1692, ET SEQ.
(“FDCPA”)
[Against All Defendants and Doe Defendants]

7. Plaintiff hereby incorporate by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

8. In California only a “creditor” may enforce a foreclosure. Defendants are “debt
collectors” as defined by the FDCPA, /5 U.S.C. $ 1692a(6).

9. Defendants have threatened to take action and is continuing to threaten Plaintiff
by threatening to conduct a nonjudicial act if Plaintiff does not pay the alleged debt in

violation of 15 U.S.C. § 1692f(6)(A).

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SECOND AMENDED COMPLAINT

 

 

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10. As alleged herein, Plaintiff's alleged debt was not legally transferred,
conveyed, or assigned to any one before the alleged debt fell into default. Any interest or
claim claimed by NATIONSTAR and/or FREDDIE MAC, was acquired after Plaintiff’ s
alleged debt was already in default. As defined by the FDCPA, they are “debt collector”
without authority to collect.

11. Defendant NATIOSNTAR is and has been attempting to collect mortgage
payments, engage in other unlawful collection practices, and will attempt to foreclose on
Plaintiff's Property.

12. Plaintiff alleges that Defendants are falsely representing the status of
Plaintiff's alleged debt obligation and is misleading Plaintiff to believe they have the
ability to enforce Plaintiff's alleged debt obligation, in which they have no pecuniary
equitable, or legal interest.

13. The conduct described above by Defendants is malicious because Defendants,
each of them, knows that they were not acting on behalf of the current pecuniary
beneficiary of the alleged debt. However, despite such knowledge, Defendants continued
to demand mortgage payments and threatens to proceed with a nonjudicial foreclosure on
Plaintiffs Property.

14. Defendants continuously attempted to collect an unverified alleged debt
without providing verified evidence they had a legal right to do so which is a violation of
15 U.S.C. § 1692g(b). At all times relevant in this action, Defendants acquired whatever

data they have in their possession from a third party.

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SECOND AMENDED COMPLAINT

 

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15. The Defendants have used that data in their illegal acts and conduct of
collecting an alleged debt in their illegal acts and conduct of collecting an alleged debt
from the Plaintiff who is a consumer. The data that the Defendants have used in their
illegal debt collection activities was for an alleged debt that was already in default.

16. At no time has Plaintiff given to Defendants his prior consent to the “debt
collectors” to contact him nor did Defendants receive express permission from a court of
competent jurisdiction in violation of /5 U.S.C. § 1692c(a). The law of the FDCPA is
very clear. A “debt collector” must obtain permission to contact a “consumer” regarding
an alleged debt. If they do not get permission, then they must obtain permission from a
court of competent jurisdiction. Defendants never obtained prior permission from the
Plaintiff nor a court of competent jurisdiction.

17. Plaintiff has never received verification from the original “creditor” in the form
of genuine loan level account documentation, and validation sworn to under penalty of
perjury, and under oath from Defendants as required by under the FDCPA.

18. Defendants initiated an illegal debt collection action dubbed a foreclosure when
they had no legal authority to do so violating 75 U.S.C. $ 1692e(5), 15 U.S.C. §
1692f(6)(A), (B), and (C), and 15 U.S.C. $ 1692i.

19. Every communication taken by Defendants including the ADOT, NOD and
SOT was an attempt to collect a debt and were violations of the FDCPA pursuant to /5

U.S.C. § 1692¢e(5), 15 U.S.C. § 1692e(6)(B), 15 U.S.C. § 1692i, 15 U.S.C. § 1692j(a) and

(b).

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SECOND AMENDED COMPLAINT

 
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20. Defendants are having forced contact with Plaintiff. They have criminally
trespassed* and used instrumentalities of interstate commerce to do it. Trespassing is a
crime.

21. Defendants took Plaintiff's personal, private information and made it public,
and distributed it to third parties without the Plaintiff's authorization in violation of 15
U.S.C. § 1692c(b). Defendants have refused to provide adequate and sufficient
verification and validation of any alleged debt as requested by Plaintiff. The Defendants
have stolen the Plaintiffs personal, private information and put it into a nonjudicial act
without the Plaintiff's authorization or consent.

22. Defendants, NATIONSTAR and FREDDIE MAC, have falsely represented the
character of Plaintiff's alleged debt and misrepresented that they were “creditors” and not
“debt collectors”. The SOT was created and publicly recorded in violation of 75 ULS.C. §
1692j(a)(b) and was compiled and designed in order to collect payment from an illegal
sale of the Plaintiff's personal private Property.

23. Defendants have attempted to collect an alleged debt under false, deceptive,
and misleading means and stated an inaccurate character, amount and status of said debt
violating the FDCPA, /5 U.S.C. § 1692e(2).

24. The FDCPA applies to loan servicers and assignees, who, like Defendants

NATIONSTAR and FREDDIE MAC began servicing and claim ownership after the loan

 

? Criminal trespass is an unlawful intrusion that interferes with one’s person or property. Any wrongful conduct
directly causing injury or loss. A trespass gives the aggrieved party the right to bring a civil lawsuit and collect
Damages as compensation for the interference and for any harm suffered. Trespass is an intentional tort and, in
some circumstances, can be punished as a crime.

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SECOND AMENDED COMPLAINT

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is in default. The key requirement is that servicing begin after the loan is in default. See
e.g. Schlosser v. Fairbanks Capital Corp., 323 F.3d 534, 536 (7" Cir. 2003) (“the Act
treats assignees as debt collectors if the debt sought to be collected was in default when
acquired by the assignee, and as creditors if it was not”); Wilson v. Draper & Goldberg,
PLLC; 443 F.3d 373, 378 (4 Cir. 2006) (the defendants’ status as foreclosure trustees
did not exclude them from the definition of “debt collector” under 75 U.S.C. $
1692a(6)(F) (1); and as the defendants could still be “debt collectors” even if they were
also enforcing a security interest); See also Kaltenbach v. Richards, 464 F.3d 524, 528-
29 (5" Cir. 2006).

25. Defendants behavior and conduct have injured and harmed the Plaintiff with
their willful and continuous illegal, deceptive and criminal violations of federal and state
law in their attempt to collect an unverified alleged debt initiating and completing a non-
judicial foreclosure which is in violation of 15 U.S.C. 15 U.S.C. $ 1692f(6)(A).

26. The Defendants violated the FDCPA by attempting to collect an alleged debt
on behalf of another, and they are using instrumentalities of interstate commerce, and the
mail (USPS) to communicate with the Plaintiff. They are debt collectors as defined
under /5 U.S.C. § 1692a(6).

27. Plaintiff could not have reasonably known of the existence of a claim for
violation of 15 U.S.C. § 1692e because Defendants fraudulently concealed the fact that
they were not entitled to enforce alleged Plaintiff's debt and that they were falsely

representing to Plaintiff the character and amount of money Plaintiff still owed on the

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SECOND AMENDED COMPLAINT

 

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alleged debt.

28. As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to
actual damages pursuant to /5 U.S.C. $ 1692k(a)(1); statutory damages in an amount up
to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); reasonable attorneys’ fees, and
costs pursuant to 75 U.S.C. § 1692(a)(3); and declaratory relief, from each and every
Defendant herein.

THIRD CAUSE OF ACTION — CANCELLATION OF INSTRUMENTS
[Against All Defendants and Doe Defendants]

29. Plaintiff hereby incorporate by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

30. Plaintiff has a reasonable apprehension that the wrongful, illegal, and false
instruments created, published, and recorded by the Defendants herein, if left
outstanding, may continue to cause serious injury to Plaintiff. Plaintiff requests this court
to adjudge and order Defendants to deliver up the Deed of Trust and all Modification
Agreements executed by Plaintiff, the ADOT, SOT, NOD, and all other documents that
relates to the Deed of Trust so that they may be canceled, or in the alternative, to declare
the them void and to be without force and effect.

31. Plaintiff is further informed and believes and thereon alleges that under

California Code of Civil Procedure § 3413, for an instrument to be subject to a cause of

 

3 “If a reasonable plaintiff would not have known the existence of a possible claim within the limitations period,
then equitable tolling will serve to extend the statute of limitations for filing suit until the plaintiff can gather
information he needs.” Garcia v. Wachovia Mortg. Corp., 676 F.Supp.2d 895, 905 (2009) citing Santa Maria, 202
F.3d at 1178; see also Stoll v. Runyon, 165 F.3d 1238, 1242 (9" Cir. 1999) (“Equitable tolling applies when Plaintiff
is prevented from asserting a claim by wrongful conduct on the part of the defendant, or when extraordinary
circumstances beyond the Plaintiff's control made it impossible to file a claim on time.”) (citation omitted.)

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action for cancellation, the instrument must appear to be valid. All foreclosure
documents appear on their face to be invalid.

32. Plaintiff alleges that Defendants did not have recorded documents showing any
legal effective assignment of the Deed of Trust to it and that it therefore has no standing
to commence, initiate, or proceed with a nonjudicial foreclosure action against Plaintiff s
Property. In other words, Defendants, as “debt collectors”, have and/or had no
enforceable rights against Plaintiff's Property.

33. Defendants NATIONSTAR and/or FREDDIE MAC, as alleged beneficiary and
assignee, did not succeed to any interests in Plaintiff's alleged debt either as beneficiary
or assignee and is fraudulently attempting to collect a debt and attempting to foreclose on
Plaintiff's Property without authority to do so, falsely claiming to be the beneficiary or
“creditor” of Plaintiffs loan.

34. As demonstrated in this SAC, the foreclosure documents executed by
Defendants are fraudulent and violate California’s nonjudicial statute, penal law and
federal laws and ought to be cancelled.

FOURTH CAUSE OF ACTION —- VIOLATION OF CALIFORNIA BUSINESS &
PROFESSIONS CODE § 17200, ET SEQ.
[Against All Defendants and Doe Defendants]

35. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

36. California Business & Professions Code § 17200, et. seq., prohibits acts of

unfair competition, which means and includes any “fraudulent business act or practice...”

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and conduct which is “likely to deceive” and is “fraudulent” within the meaning of
Section 17200.

37. As more fully described above and below, Defendants, as "debt collectors” are
doing certain acts and practices, such as attempting to collect on a debt to which they
have no right or authority, which are likely to deceive, constituting a fraudulent business
act or practice.

38. Specifically, Defendants engaged in deceptive business practices with respect
to mortgage loan servicing, assignments of notes and deeds of trust, the process of
initiating related matters by:

a) Assessing improper or excessive fees;

b) Improperly characterizing customers’ accounts as being in default or
delinquent status to generate unwarranted fees:

c) Instituting improper or premature foreclosure proceedings to generate
unwarranted fees;

d) Failing to provide adequate statement information to customers regarding
the status of their accounts, payments owed, and/or basis for fees assessed;

e) Seeking to collect and collecting various improper fees, costs and charges
that are either not legally due under the mortgage contract or California law,
or that are in excess of amounts legally due;

f) Mishandling borrowers’ documents resulting in fraudulent defaults and

foreclosures;

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SECOND AMENDED COMPLAINT

 

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g) Treating borrower as in default on their loans even though the borrowers
are under no obligation to make payments to Defendants, or have otherwise
complied with mortgage requirements or California law.

h) Failing to disclose the fees, costs and charges allowable under the contract;

i) Ignoring Borrowers’ Qualified Written Request and Borrowers’ demand to
produce the original Promissory Note or comply with Borrowers’ request
for an accounting of all proceeds/payments involved with Borrowers’ loan;

j) Executing, manufacturing, creating and recording false, fraudulent, forged
and misleading deeds, assignments, notice of sale/default documents; and

k) Acting as beneficiaries and trustees without the legal authority to do so.

39. Defendants failed to act in good faith as they took and charged fees for services
but did no render them competently and in compliance with applicable law.

40. Moreover, Defendants engaged in a uniform pattern and practice of unfair and
over-agegressive servicing that resulted in the assessment of unwarranted and unfair fees
against California consumers, and premature default resulting in unfair and illegal
foreclosure proceedings. The scheme implemented by Defendants were designed to
defraud not just Plaintiff but all California consumers and enrich the Defendants.

41. The foregoing acts and practices have caused substantial harm to not only
Plaintiff but to all its California consumers and to all California taxpayers.

FIFTH CAUSE OF ACTION — QUASI CONTRACT
[Against All Defendants and Doe Defendants]

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SECOND AMENDED COMPLAINT

 

 

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42. Plaintiff hereby incorporate by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

43. Defendants NATIONSTAR and/or FREDDIE MAC, as “debt collectors”
continues to demand monthly mortgage payments from Plaintiff. Plaintiff reasonably
relied upon Defendant NATIONSTAR’s assertion that it/they are/were entitled to the
benefit of his mortgage payments.

44. Defendants NATIONSTAR and/or FREDDIE MAC, as “debt collectors”,
knowingly demanded payments to retain them for its own use knowing that they did not
acquire an interest in Plaintiff's Note or Deed of Trust, such that they could accept or
keep Plaintiff's payments. It would be inequitable for Defendants NATIONSTAR and/or
FREDDIE MAC to retain the payments received from Plaintiff which it did not have
legal authority to collect. The equitable remedy of restitution when unjust enrichment
has occurred is an obligation created by the law without regard to the intention of the
parties, and is designed to restore the aggrieved party to their former position by return of
the thing or its equivalent in money.

45. Section 23 of the Deed of Trust states that: “Upon payment of all sums secured
by this Security Instrument, Lender shall request Trustee to reconvey the Property and
shall surrender this Security Instrument and all Notes evidencing debt secured by this
Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to
the person or persons legally entitled to it.” The obligations to Defendant

NATIONSTAR and/or FREDDIE MAC under the Deed of Trust were fulfilled when

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they received the balance on the Note as proceeds of sale of Plaintiff's Note and Deed of
Trust to a presently unknown entity.

46. Plaintiff seeks restitution for any payments they made to Defendants
NATIONSTAR and/or FREDDIE MAC that were not paid to the lender or beneficiary, if
any.

SIXTH CAUSE OF ACTION — NEGLIGENCE
[Against All Defendants and Doe Defendants]

47. Plaintiff hereby incorporates by reference each and every one of the preceding
paragraphs as if the same were fully set forth herein.

48. At all times relevant herein, Defendant NATIONSTAR is acting as a
beneficiary of Plaintiff's alleged debt when they are not. Defendant FREDDIE MAE is
acting as a beneficiary of Plaintiff's alleged debt when they are not. FREDDIE MAC andi
NATIONSTAR have formed an unconventional relationship with Plaintiff when they
chose to take part in modifying Plaintiff's alleged debt obligation.

49. Defendants have a duty to exercise reasonable care and skill to follow Cali-
fornia law with regard to enforcement of monetary obligations, and to refrain from taking
or failing to take any action against Plaintiff that they do not have the legal authority to
do. This includes enforcing the Note and Deed of Trust by collecting or demanding
mortgage payments when they do not have the right to enforce the obligation, causing the
Plaintiff to overpay in interest making derogatory credit reports to credit bureaus, and
failing to keep accurate accounting of Plaintiff's previous mortgage payments, credits,

and debits (if Defendant NATIONSTAR is in fact the legally authorized mortgage

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SECOND AMENDED COMPLAINT

 

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servicer for Plaintiff).

50. Defendants NATIONSTAR and FREDDIE MAC have a duty to exercise
reasonable care and skill to refrain from taking any action against Plaintiff that they do
not have the legal authority to do. As a direct and proximate result of the reckless
negligence, utter carelessness, and blatant fraud of the Defendants as set forth above, the
chain of title to Plaintiff's Property has been rendered unmarketable and fatally defective
and has caused Plaintiff to lose saleable title to his Property.

51. As a direct and proximate result of the negligence and carelessness of the
Defendants as set forth above, Plaintiff has suffered, and continue to suffer, general, and
special damages in an amount to be determined at trial, including attorneys’ fees, if any,
and costs of bringing suit to dispute, validate, and challenge said Defendants’ purported
rights to enforce his debt obligation against him.

RELIEF REQUESTED

Plaintiff re-alleges each of the previous allegations as if set forth fully herein.

WHEREFORE, Plaintiff prays for judgment against Defendants NATIONSTAR
and FREDDIE MAC, and each of them, jointly and severally, as follows:

1. For compensatory, special, and general damages in an amount according to
proof at trial, but not less than $1,00,000.00 against Defendants;

2. For punitive and exemplary damages in an amount to be determined by the
Court against all Defendants;

3. For an order compelling Defendants to remove any instrument which does or

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SECOND AMENDED COMPLAINT

 

 

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could be construed as constituting a cloud upon Plaintiff's title to the Property;

4. For a declaratory judgment finding that Defendants do not have any legally
cognizable rights as to Plaintiff, the Property, Plaintiff's alleged debt, tendered to and
executed by Plaintiff;

5. For the Court to issue an order restraining Defendants, their agents, or
employees from continuing or initiating any action against the Property and enjoining
Defendants, their agents, or employees from doing so during the pendency of this matter;

6. For reasonable cost of suit incurred in this action; and

7. For reasonable attorney’s fees, if any; and

8. For such additional and further relief as the Court may deem proper and

reasonable.

DATED: May 30, 2017
Respectfully submitted by:

Bhp ce —

Phillip’D. Jackson
Plaintiff

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SECOND AMENDED COMPLAINT

 

 

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VERIFICATION
I, Phillip D. Jackson, an individual, am the Plaintiff in the above-entitled action. I
have read the foregoing Complaint and know the contents thereof. The same is true of
my own knowledge, except as to those matters which are therein stated on information
and belief, and as to those matters, I believe it to be true.
I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed in Highland, California on May 30, 2017.

Phillip D. Jackx6n
Plaintiff

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SECOND AMENDED COMPLAINT

 

 

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a 08:00 AM
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\ & e Auditor/Controller - Recorder

 

842 First American Title Company
Recording Requested By /

Return To: Doc#:  2006-0421023 Titles: 4 Pages: 16

MOUNTAIN WEST FINANCIAL INC.

1209 NEVADA STREET, SUITE 200 Fees 53.00
REDLANDS, CA 92374 Taxes .00
Other .00

Prepared By: PAID 53.00

STEFFANI TAYLOR

MOUNTAIN WEST FINANCIAL INC.
1209 NEVADA STREET, SUITE 200
REDLANDS, CA 92374

 

[Space Above This Line For Recording Data]

DEED OF TRUST

JACKSON

Loan #: 02606009

PIN: 1201-441-22

MIN: 100154600000091032

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18, 20 and
21. Certain rules regarding the usage of words used in this document are also provided in Section 16.

(A) "Security Instrument" means this document, which is dated JUNE 13, 2006, together with all Riders to this document.
(B) "Borrower" is PHILLIP D. JACKSON, A MARRIED MAN, AS HIS SOLE AND SEPARATE PROPERTY.
Borrower is the trustor under this Security Instrument.

(C) "Lender" is MOUNTAIN WEST FINANCIAL INC.. Lender is a CORPORATION organized and existing under the laws of
CA. Lender’s address is 1209 NEVADA STREET, SUITE 200, REDLANDS, CA 92374.

(D) "Trustee" is FIRST AMERICAN TITLE INSURANCE COMPANY.

(E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely as a nominee
for Lender and Lender’s successors and assigns. MERS is the beneficiary under this Security Instrument. MERS is organized
and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel.
(888) 679-MERS.

(F) "Note" means the promissory note signed by Borrower and dated JUNE 13, 2006. The Note states that Borrower owes
Lender THREE HUNDRED NINETY-ONE THOUSAND NINE HUNDRED NINETY-NINE AND 00/100 Dollars (U.S.
$391, 999.00) plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not
laterthan JULY 1, 2036.

(G) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."

(H) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the Note, and
all sums due under this Security Instrument, plus interest.

(D "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are to be executed
by Borrower [check box as applicable]:

&l Adjustable Rate Rider ( Condominium Rider {] Second Home Rider
( Balloon Rider ( Planned Unit Development Rider 1 Biweekly Payment Rider
Ci 1-4 Family Rider (2 Other(s) [specify]

(3) "Applicable Law” means all controlling applicable federal, state and local statutes, regulations, ordinances and administrative
rules and orders (that have the effect of law) as well as all applicable final, non-appealabie judicial opinions.

(K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges that are
imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.

CALIFORNIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT ik
ex2 312.62 Page t of 10 Form 3005 1/01

 
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(L) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or similar paper
instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape so as to order,
instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not limited to, point-of-sale
transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers.

(M) "Escrow Items" means those items that are described in Section 3.

(N) “Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any third party
(other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of, the Property;
(ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv)
misrepresentations of, or omissions as to, the value and/or condition of the Property.

(O) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.

(P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ai) any
amounts under Section 3 of this Security Instrument.

(Q) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. § 2601 et seq.) and its implementing regulation,
Regulation X (24 C.E.R. Part 3500), as they might be amended from time to time, or any additional or successor legislation or
regulation that governs the same subject matter.

As used in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a "federally
related mortgage loan" even if the Loan does not qualify as a “federally related mortgage loan" under RESPA.

(R) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that party has
assumed Borrower’s obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender’s successors and assigns) and the
successors and assigns of MERS. This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower’s covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power of sale, the
following described property located in the COUNTY of SAN BERNARDINO:

LOT 6, TRACT NO. 15618-2, IN THE CITY OF HIGHLANDS, COUNTY OF SAN BERNARDINO, STATE OF
CALIFORNIA, AS PER MAP RECORDED IN BOOK 265, PAGES 55 THROUGH 57, INCLUSIVE OF M APS,
IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

which currently has the address of 28598 KRISTIN LANE HIGHLAND, California 92346 ("Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements, appurtenances, and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security Instrument.
All of the foregoing is referred to in this Security Instrument as the "Property." Borrower understands and agrees that MERS holds
only legal title to the interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or custom,
MERS (as nominee for Lender and Lender’s successors and assigns) has the right: to exercise any or all of those interests,
including, but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender including, but
not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to grant and
convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants and will defend
generally the title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay when
due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due under the
Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender as payment under the
Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under
the Note and this Security Instrument be made in one or more of the following forms, as selected by Lender: (a) cash; (b) money
order; (c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon an institution
whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

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Payments are deemed received by Lender when received at the location designated in the Note or at such other location as
may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment or partial
payment if the payment or partial payments are insufficient to bring the Loan current. Lender may accept any payment or partial
payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied funds.
Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If Borrower does not do so within
a reasonable period of time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds will
be applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim which
Borrower might have now or in the future against Lender shall relieve Borrower from making payments due under the Note and
this Security Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted and
applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due under the
Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order in which it became
due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this Security Instrument,
and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to pay
any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one Periodic Payment
is outstanding, Lender may apply any payment received from Borrower to the repayment of the Periodic Payments if, and to the
extent that, each payment can be paid in full. To the extent that any excess exists after the payment is applied to the full payment of
one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be applied first
to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shail not
extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note, until the
Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (2) taxes and assessments and other items
which can attain priority over this Security Instrument as a lien or encumbrance on the-Property; (b) leasehold payments or ground
rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage
Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums
in accordance with the provisions of Section 10. These items are called "Escrow Items." At origination or at any time during the
term of the Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender al! notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to
pay the Funds for any or all Escrow Items. Lender may waive Borrower’s obligation to pay to Lender Funds for any or all Escrow
Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when and
where payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender may require. Borrower’s
obligation to make such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement
contained in this Security Instrument, as the phrase “covenant and agreement" is used in Section 9. If Borrower is obligated to pay
Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its
rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section 15
and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section
3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall estimate
the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow Items or otherwise
in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower for
holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays
Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings
on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess

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funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in accordance
with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the Property
which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if any, and Community
Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items, Borrower shall pay them in the
manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees
in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as Borrower is
performing such agreement; (b} contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings are pending, but only until such
proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to
this Security Instrument. If Lender determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is
given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used by
Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property insured
against loss by fire, hazards included within the term "extended coverage," and any other hazards including, but not limited to,
earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the amounts (including
deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection
with this Loan, either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each time remappings or similar changes
accur which reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of any
fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone determination
resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender’s
option and Borrower’s expense. Lender is under no obligation to purchase any particular type or amount of coverage. Therefore,
such coverage shall cover Lender, but might or might not protect Borrower, Borrower’s equity in the Property, or the contents of
the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was previously in effect.
Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s right to disapprove
such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss payee and
Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to the amount of the
outstanding loan balance. Lender shall have the right to hold the policies and renewal certificates. If Lender requires, Borrower
shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance
coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard
mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee and Borrower further agrees to generally
assign rights to insurance proceeds to the holder of the Note up to the amount of the outstanding loan balance.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof of loss
if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds, whether or
not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property, if the restoration or
repair is economically feasible and Lender's security is not lessened. During such repair and restoration period, Lender shall have
the right to hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been
completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for
the repairs and restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not
be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not economically

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feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the
order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle a
claim, then Lender may negotiate and settle the claim. The 30-day period wil! begin when the notice is given. In either event, or if
Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower’s rights to any
insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under all insurance policies
covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender may use the insurance proceeds
either to repair or restore the Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then
due.

6. Occupancy. Borrower shail occupy, establish, and use the Property as Borrower's principal residence within 60 days
after the execution of this Security Instrument and shall continue to occupy the Property as Borrower’s principal residence for at
least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably
withheld, or unless extenuating circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage or
impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is residing in the
Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing in value due to its
condition. Unless it is determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid
in connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or restoring the Property
only if Lender has released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause, Lender
may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or prior to such an
interior inspection specifying such reasonable cause.

8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or any
persons or entities acting at the direction of Borrower or with Borrower’s knowledge or consent gave materially false, misleading,
or inaccurate information or statements to Lender (or failed to provide Lender with material information) in connection with the
Loan. Material representations include, but are not limited to, representations concerning Borrower’s occupancy of the Property as
Borrower's principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If (a) Borrower fails
to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal proceeding that might
significantly affect Lender’s interest in the Property and/or rights under this Security Instrument (such as a proceeding in
bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security
Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for
whatever is reasonable or appropriate to protect Lender’s interest in the Property and rights under this Security Instrument,
including protecting and/or assessing the value of the Property, and securing and/or repairing the Property. Lender’s actions can
include, but are not limited to: (a) paying any sums secured by a lien which has priority over this Security Instrument, (b}
appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in the Property and/or rights under this Security
Instrument, including its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate
building or other code violations or dangerous conditions, and have utilities tumed on or off. Although Lender may take action
under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs
no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such
interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. Borrower shall
not surrender the leasehold estate and interests herein conveyed or terminate or cance! the ground lease. Borrower shall not,
without the express written consent of Lender, alter or amend the ground lease. If Borrower acquires fee title to the Property, the
leasehold and the fee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall pay
the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance coverage required
by Lender ceases to be available from the mortgage insurer that previously provided such insurance and Borrower was required to
make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to

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obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost
to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If substantially
equivalent Mortgage Insurance coverage is not available, Borrower shail continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or
earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount
and for the period that Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and
Lender requires separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required to make separately designated payments toward the
premiums for Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to
provide a non-refundable loss reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written
agreement between Borrower and Lender providing for such termination or until termination is required by Applicable Law.
Nothing in this Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into agreements
with other parties that share or modify their risk, or reduce losses. These agreements are on terms and conditions that are
satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These agreements may require the
mortgage insurer to make payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or any
affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized as) a
portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer’s risk, or
reducing losses. If such agreement provides that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of
the premiums paid to the insurer, the arrangement is often termed “captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance, or
any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage Insurance,
and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage Insurance
under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall be
paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if the
restoration or repair is economically feasible and Lender’s security is not lessened. During such repair and restoration period,
Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender
may pay for the repairs and restoration in a single disbursement or in a series of progress payments as the work is completed.
Unless an agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
shalt not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by
this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums secured by
this Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the partial taking, destruction, or
loss in value divided by (b) the fair market value of the Property immediately before the partial taking, destruction, or loss in value.
Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured immediately before
the partial taking, destruction, or Joss in value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds

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shall be applied to the sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined in
the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within 30 days after
the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of
the Property or to the sums secured by this Security Instrument, whether or not then due. “Opposing Party” means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender’s judgment,
could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this
Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section 19, by
causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or
other material impairment of Lender’s interest in the Property or rights under this Security Instrument. The proceeds of any award
or claim for damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned and shall be
paid to Lender. .

Ali Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modification
of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor in Interest of
Borrower shall not operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall not be
required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend time for payment or
otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
without limitation, Lender's acceptance of payments from third persons, entities or Successors in Interest of Borrower or in
amounts less than the amount then due, shail not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument but
does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage, grant and convey the co-
signer’s interest in the Property under the terms of this Security Instrument, (b) is not personally obligated to pay the sums secured
by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower’s obligations under
this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower’s rights and benefits under this Security
Instrument. Borrower shall not be released from Borrower's obligations and liability under this Security Instrument unless Lender
agrees to such release in writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default, for
the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, but not limited to,
attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not
charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected
from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing
the principal owed under the Note or by making a direct payment to Borrower. Ifa refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the
Note). Borrower’s acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any right of
action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing. Any
notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when mailed by
first class mail or when actually delivered to Borrower’s notice address if sent by other means. Notice to any one Borrower shall
constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice address shall be the Property
Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
Borrower's change of address. If Lender specifies a procedure for reporting Borrower’s change of address, then Borrower shall
only report a change of address through that specified procedure. There may be only one designated notice address under this
Security Instrument at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail to
Lender’s address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection with
this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. If any notice required

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by this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the corresponding
requirement under this Security Instrument. .

16. Governing Law; Severability; Rules of Construction, This Security Instrument shall be governed by federal law
and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security Instrument are
subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to
agree by contract or it might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In the
event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not
affect other provisions of this Security Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and (c) the word
“may” gives sole discretion without any obligation to take any action.

17. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the Property"
means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests transferred in a bond
for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by Borrower
at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural person
and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may require immediate
payment in full of all sums secured by this Security Instrument. However, this option shall not be exercised by Lender if such
exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period of not
less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay all sums secured
by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower. .

19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall have the
right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before sale of
the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period as Applicable Law might
specify for the termination of Borrower’s right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as if
no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses incurred in
enforcing this Security Instrument, including, but not limited to, reasonable attorneys’ fees, property inspection and valuation fees,
and other fees incurred for the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument;
and (d) takes such action as Lender may reasonably require to assure that Lender’s interest in the Property and rights under this
Security Instrument, and Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected by
Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check is
drawn upon an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds
Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as
if no acceleration had occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a change in
the entity (known as the “Loan Servicer") that collects Periodic Payments due under the Note and this Security Instrument and
performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable Law. There also
might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer,
Borrower will be given written notice of the change which will state the name and address of the new Loan Servicer, the address to
which payments should be made and any other information RESPA requires in connection with a notice of transfer of servicing. If
the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan
servicing obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant or
the member of a class) that arises from the other party’s actions pursuant to this Security Instrument or that alleges that the other
party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower or Lender has
notified the other party (with such notice given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after the giving of such notice to take corrective action. If Applicable Law
provides a time period which must elapse before certain action can be taken, that time period will be deemed to be reasonable for
purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the
notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take
corrective action provisions of this Section 20.

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21. Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances" are those substances defined as toxic
or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
formaldehyde, and radioactive materials; (b) “Environmental Law” means federal laws and laws of the jurisdiction where the
Property is located that relate to health, safety or environmental protection; (c) “Environmental Cleanup" includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition" means a
condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do, anything
affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental Condition, or (c)
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects the value of the
Property. The preceding two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of the
Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental Law of
which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of
a Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prier to acceleration following Borrower’s
breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless
Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the default; (c)
a date, not less than 30 days from the date the notice is given to Borrower, by which the default must be cured; and (d) that
failure to cure the default on or before the date specified in the notice may result in acceleration of the sums secured by this
Security Instrument and sale of the Property. The notice shall further inform Borrower of the right to reinstate after
acceleration and the right to bring court action to assert the non-existence of a default or any other defense of Borrower to
acceleration and sale. If the default is not cured on or before the date specified in the notice, Lender at its option may
require immediate payment in full of all sums secured by this Security Instrument without further demand and may invoke
the power of sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all expenses
incurred in pursuing the remedies provided in this Section 22, including, but not limited to, reasonable attorneys’ fees and
costs of title evidence.

If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written notice of the
occurrence of an event of default and of Lender’s election to cause the Property to be sold. Trustee shall cause this notice to
be recorded in each county in which any part of the Property is located. Lender or Trustee shall mail copies of the notice as
prescribed by Applicable Law te Borrower and to the other persons prescribed by Applicable Law. Trustee shall give
public notice of sale to the persons and in the manner prescribed by Applicable Law. After the time required by Applicable
Law, Trustee, without demand on Borrower, shall sell the Property at public auction to the highest bidder at the time and
place and under the terms designated in the notice of sale in one or more parcels and in any order Trustee determines.
‘Trustee may postpone sale of all or any parcel of the Property by public announcement at the time and place of any
previously scheduled sale. Lender or its designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee’s deed conveying the Property without any covenant or warranty,
expressed or implied. The recitals in the Trustee’s deed shall be prima facie evidence of the truth of the statements made
therein. Trustee shall apply the proceeds of the sale in the following order: (a) to ail expenses of the sale, including, but not
limited to, reasonable Trustee’s and attorneys’ fees; (b) to all sums secured by this Security Instrument; and (c) any excess
to the person or persons legally entitled to it.

23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request Trustee to
reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this Security
Instrument to Trustee. Trustee shall reconvey the Property without warranty to the person or persons legally entitled to it. Lender
may charge such person or persons a reasonable fee for reconveying the Property, but only if the fee is paid to a third party (such as
the Trustee) for services rendered and the charging of the fee is permitted under Applicable Law. If the fee charged does not
exceed the fee set by Applicable Law, the fee is conclusively presumed to be reasonable.

24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any Trustee appointed
hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the Recorder of the county in

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which the Property is located. The instrument shall contain the name of the original Lender, Trustee and Borrower, the book and
page where this Security Instrument is recorded and the name and address of the successor trustee. Without conveyance of the
Property, the successor trustee shall succeed to all the title, powers and duties conferred upon the Trustee herein and by Applicable
Law. This procedure for substitution of trustee shall govern to the exclusion of all other provisions for substitution.

25. Statement of Obligation Fee. Lender may collect a fee not to exceed the maximum amount permitted by Applicable
Law for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument
y\ Rider “T Borrower and recorded with it.
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- BORROWER ~ PHILP D. JACKSON - ‘DATE -

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State of Cat Cr ar ta ;

Countyof San Bernardin 6 )

On ~Juopne 14,2066 before me, Deborah Or inser, MoFa rap fa bic,
(here insert nafne and title of the officer)

personally appeared . .
Priulio Dp. Tackson
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personally-known-to-me (or proved to me on the basis of satisfactory evidence) to be the personts} whose namefs) is/are subscribed
to the within instrument and acknowledged to me that he/sheAhey executed the same in his/hertheir authorized capacity@es), and

that by his/hee4heir signatures} on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed
the instrument.

 

 

WITNESS my hand and official seal.

"DEBORAH SPRINGER A
Commission # 1416367 Signature Seal)

Notary Public - Calfomia
eH NY Riverside County Y
as My Comm. Expires Ma

 

CALIFORNIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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ADJUSTABLE RATE RIDER
(LIBOR Six-Month Index (As Published In 7he Wail Street Journal)-Rate Caps)

JACKSON
Loan #: 02606009
MIN: 160154600000051032

THIS ADJUSTABLE RATE RIDER is made this 13TH day of JUNE, 2006 and is incorporated
into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Security Deed (the
"Security Instrument”) of the same date given by the undersigned ("Borrower") to secure Borrower's
Adjustable Rate Note (the Note") to MOUNTAIN WEST FINANCIAL INC. ("Lender") of the same date
and covering the property described in the Security Instrument and located at:

28598 KRISTIN LANE, HIGHLAND, CA 92346
[Property Address]

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
AMOUNT BORROWER’S INTEREST RATE CAN CHANGE AT ANY ONE TIME
AND THE MAXIMUM RATE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:
A. INTEREST RATE AND MONTHLY PAYMENT CHANGES

The Note provides for an initial interest rate of 7.125%. The Note provides for changes in the
interest rate and the monthly payments, as follows:
4, INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates

The interest rate I will pay may change on the first day of JULY, 2011 and on that day every 6TH
month thereafter, Each date on which my interest rate could change is called a "Change Date."

(B) The Index

Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is the

MULTISTATE ADJUSTABLE RATE RIDER-LIBOR SIX-MONTH INDEX {as published in The Wall Street Jaurnal)
-Single Family- Fannie Mae UNIFORM INSTRUMENT

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average of interbank offered rates for six month U.S. dollar-denominated deposits in the London market
("LIBOR"), as published in The Wall Street Journal. The most recent Index figure available as of the first
business day of the month immediately preceding the month in which the Change Date occurs is called the
"Current Index.”

If the Index is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice.

(C) Caleulation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding TWO AND
THREE-FOURTHS percentage points (2.750%) to the Current Index. The Note Holder will then round the
result of this addition to the nearest one-eighth of one percentage point (0.125%). Subject to the limits stated
in Section 4(D) below, this rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to
repay the unpaid principal that I am expected to owe at the Change Date in full on the Maturity Date at my
new interest rate in substantially equal payments. The result of this calculation will be the new amount of my
monthly payment.

(D) Limits on Interest Rate Changes

The interest rate I am required to pay at the first Change Date will not be greater than 13 .125% or
less than 7.125%. Thereafter, my interest rate will never be increased or decreased on any single Change
Date by more than TWO percentage points (2.000%) from the rate of interest ] have been paying for the
preceding 6 months. My interest rate will never be greater than 13.125%.

(£) Effective Date of Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new
monthly payment beginning on the first monthly payment date after the Change Date until the amount of my
monthly payment changes again.

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
amount of my monthly payment before the effective date of any change. The notice will include information
required by law to be given to me and also the title and telephone number of a person who will answer any
question I may have regarding the notice.

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Uniform Covenant 18 of the Security Instrument is amended to read as follows:
Transfer of the Property or a Beneficial Interest in Borrower. As used in this

Section 18, “Interest in the Property” means any legal or beneficial interest in the Property,

including, but not limited to, those beneficial interests transferred in a bond for deed,

contract for deed, installment sales contract or escrow agreement, the intent of which is the

transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or
transferred (or if Borrower is not a natural person and a beneficial interest in Borrower is

sold or transferred) without Lender’s prior written consent, Lender may require immediate

payment in full of all sums secured by this Security Instrument. However, this option shall

not be exercised by Lender if such exercise is prohibited by Applicable Law. Lender also

shall not exercise this option if: (a) Borrower causes to be submitted to Lender information

required by Lender to evaluate the intended transferee as if a new loan were being made to

the transferee; and (b) Lender reasonably determines that Lender’s security will not be

impaired by the loan assumption and that the risk of a breach of any covenant or agreement

in this Security Instrument is acceptable to Lender.

_ To the extent permitted by Applicable Law, Lender may charge a reasonable fee as

a condition to Lender’s consent to the loan assumption. Lender also may require the

transferee to sign an assumption agreement that is acceptable to Lender and that obligates

the transferee to keep all the promises and agreements made in the Note and in this

MULTISTATE ADJUSTABLE RATE RIDER-LIBOR SIX-MONTH INDEX (as published in The Wall Street Journal)
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Security Instrument. Borrower will continue to be obligated under the Note and this
Security Instrument unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shal!
give Borrower notice of acceleration. The notice shall provide a period of not less than 30
days from the date the notice is given in accordance with Section {5 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or demand on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this

Adjustable] Rate Rider.
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MULTISTATE ADJUSTABLE RATE RIDER-LIBOR SIX-MONTH INDEX (as published in The Wall Street Journal)
-Single Family- Fannie Mae UNIFORM INSTRUMENT
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ADDENDUM TO ADJUSTABLE RATE RIDER

JACKSON

Loan #: 02606009

PIN: 1201-441-22

MIN: 100154600000091032

This addendum is made JUNE 13, 2006 and is incorporated into and deemed to amend and supplement
the Adjustable Rate Rider of the same date.

The property covered by this addendum is described in the Security Instrument and located at: 28598
KRISTIN LANE, HIGHLAND, CA 92346.

AMENDED PROVISIONS
In addition to the provisions and agreements made in the Security Instrument, or in the event of a conflict
between the Note and this Rider to the Mortgage and or Deed of Trust, I/we further covenant and agree as follows:

ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES

Limits on Interest Rate Changes

The interest rate I am required to pay at the first Change date will not be greater than 13.125% or less
than 7.125%. Thereafter, my adjustable interest rate will never be increased or decreased on any single Change
Date by more than TWO percentage point(s) (2.000%) from the rate of interest I have been paying for the preceding
SIX (6) months. My interest rate will never be greater than 13.125%. My interest rate will never be less than
7.125%.

TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

Uniform Covenant 18 of the Security Instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “Interest in the
Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent

of which is the transfer of title by Borrower at a future date to a purchaser.

Ifall or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a

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natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this option
shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
addendum, and agrees that any conflict between this Rider and the Security Instrument shall be resolved in favor of

this Ri .

[or
- BORROWER - PHIWY/IP D. JACKSON - DATE -

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INTEREST ONLY ADDENDUM
TO ADJUSTABLE RATE RIDER

JACKSON
Loan #: 02606009
MIN: 100154600000091032

THIS ADDENDUM is made this 13TH day of JUNE, 2006, and is incorporated into and intended to form
a part of the Adjustable Rate Rider (the Rider") dated the same date as this Addendum executed by the
undersigned and payable to MOUNTAIN WEST FINANCIAL INC. (the "Lender").

THIS ADDENDUM supercedes Section 4(C) of the Rider. None of the other provisions of the Note are
changed by this Addendum.

4. ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES
(C) Calculation of Changes
Before each Change Date, the Note Holder will calculate my new interest rate by adding TWO
AND THREE-FOURTHS percentage points (2.750%) to the Current Index. The Note Holder
will then round the result of this addition to the nearest one-eighth of one percentage point
(0.125%). Subject to the limits stated in Section 4(D), this rounded amount will be my new
~ interest rate until the next Change Date.

During this Interest Only Period, the Note Holder will then determine the amount of the
‘ monthly payment that would be sufficient to repay accrued interest. This will be the amount of my
monthly payment until the earlier of the next Change Date or the end of the Interest Only Period
unless I make a voluntary prepayment of principal during such period. If I make a voluntary
prepayment of principal during the Interest Only Period, my payment amount for subsequent
payments will be reduced to the amount necessary to pay interest on the lower principal balance.
At the end of the Interest Only Period and on each Change Date thereafter, the Note Holder will
determine the amount of the monthly payment that would be sufficient to repay in full the unpaid
principal that I am expected to owe at the end of the Interest Only Period or Change Date, as
applicable, in equal monthly payments over the remaining term of the Note. The result of this
calculation will be the new amount of my monthly payment. After the end of the Interest Only
Period, my payment amount will not be reduced due to voluntary prepayments.

wn yer) SEAL(S) OF THE UNDERSIGNED.
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MORTG

February 12, 2013
Via Certified Mail: 7012 3050 0001 5811 7056

Phillip D. Jackson
28598 Kristen Lane
Highland, CA 92346

RE:  Nationstar Case Reference #: Jackson8301
Mortgagor: Phillip D. Jackson
Property Address: 28598 Kristen Lane Highland, CA 92346

Dear Mr. Jackson, |

As we previously acknowledged, Nationstar received your correspondence dated January 25, 2013
regarding the mortgage loan account described above.

In this correspondence, you appear to seekjcertain information through a purported “qualified written
request” under the Real Estate Settlement Procedures Act, 12 U.S.C § 2605. Enclosed are copies of the
following documents that you requested: |

© Note and Security Instrument |
© The note and security instrument will validate the above mentioned loan. These include, but
are not limited to, information concerning our right to assess fees and costs to the loan,
inspect the property, and purchabe lender placed insurance or pay taxes on the customer’s
behalf. |
e Payment History
a The payment history reflects a complete payment history for the period of June 15, 2012
through the date of this letter. This payment history reflects when payments were received,
how they were applied to the loan, and any disbursements made from the loan. The payment
history provides a description for each transaction and running balances of the unpaid
principal and escrow accounts. It also includes the date fees and charges were assessed, any
amounts paid towards these fees, and waivers/reversals of these fees is also reflected. Late
fees are reported on the annual mortgage statement. If a payment was applied to the suspense
account, it will be indicated in the code description column. Payments can be applied to the
suspense account if the funds received do not represent the full monthly mortgage payment
due, or if Nationstar is not informed of where the payment is to be applied.
e Billing statement dated January 18, 2013.
o The billing statement will reflect the current amount due on the loan and will also provide a

breakdown of any fees assessed, including any lender paid expenses or corporate advance
fees.

e HUDI—Settlement Statement |
o The HUD] provides an itemization of all charges imposed for the real estate transaction, ”
including incoming and outgoing funds. Items indicating POC (Paid Outside of Closing) are
fees associated with the transaction but paid prior to closing.

This is an attempt to collect adebt and any information obtained Vill be used for that purpose. If this debt is in or has been discharged in a
bankruptcy proceeding, be advised this communication is not an attempt to collect the debt against you. Please note, however, we reserve the
right to exercise the legal rights only agahst the property securing the original obligation.

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Nationstar

MORTGAGE

                                    

® Modification Documents
e Any available Brokers Price Opinions (BPOs)

Our records indicate Federal Home Loan Mortgage Corporation (Freddie Mac) is the current owner of the
Note. As requested, we have provided the address and phone number below:

Address: Freddie Mac
8200 Jones Branch Drive
McLean, VA 22102
Phone: (703) 918-8579

Please note that Nationstar is the servicer of the loan and therefore will be responsible for responding to
any concerns regarding the servicing of the loan. Servicing matters include but are not limited to:
payment assistance and modifications, payment posting, validation of the debt, foreclosure proceedings,
and payment adjustments. As such, please direct any correspondence related to these matters to
Nationstar.

 

The owner of the mortgage note is the| noteholder of the loan note. However there are some
circumstances where owner has given temporary possession of the loan note to the Servicer. The owner
does this in order to ensure that the servicer is able to perform the services and duties incident to the
servicing of the mortgage loan, such as, foreclosure actions, bankruptcy cases, or other legal proceedings.

As of the date of this correspondence, the, account is approximately twelve payments delinquent and
contractually next due for the March 1, 2012 installment. Should you have any questions or concerns
regarding the account, or if you would like to discuss available payment assistance options, you may work
directly with Kelly McKnight, Foreclosure Prevention Specialist who can be contacted directly via
telephone at 972-956-6247.

Furthermore, the payment history appears to be reported accurately to credit repositories. If you have
documentation that substantiates that any of the information reported by Nationstar on the credit report is
incorrect, please provide the detailed information for review.
|

At Nationstar, our customers’ business and total satisfaction are very important. Should you have any
questions, please contact me directly or ifi you have general questions regarding the account, please
contact our Account Resolutions Departmen tol free at 888-811-5279 Monday through Thursday, 8:00
a.m. to 8:00 p.m. CDT, and 8:00 a.m. to 5: 0g p.m. CDT, on Fridays.

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Sincerely,

Kristin Kennard |

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This is an attempt to collect adebt and any information obtained will be used for that purpose. If this debt is in or has been discharged in a
bankruptcy proceeding, be advised this communication is not anjattempt to collect the debt against you. Please note, however, we reserve the
tight to exercise the legal rights only aganst the property securing the original obligation.

 

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